 Case 4:02-cr-40053-JPG         Document 447 Filed 05/24/05             Page 1 of 1     Page ID
                                          #524



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      Case No. 2002-cr-40053-JPG
                                              )
JACQUELINE MICHELE DUFFY,                     )
                                              )
       Defendant.                             )

                                             ORDER

GILBERT, District Judge:

       This matter comes before the Court on Duffy’s motions to dismiss (Docs. 440 and 441).

The first motion to dismiss apparently refers to the 28 U.S.C. §2255 motion Duffy filed in Case

No. 2004-cv-4139-JPG. Because the record in that case shows that Duffy’s motion to withdraw

the petition was granted on March 21, 2005, and judgment was entered the same day, her first

motion to dismiss currently under review (Doc. 440) is DENIED as moot. Second, Duffy asks

the Court to dismiss Attorney Goggin as attorney of record in this case, and that all

correspondence be sent to her at her address in custody. Because the record in this case reveals

that Mr. Goggin’s representation terminated on the day of Duffy’s sentencing (July 24, 2003),

and that correspondence in this case is being sent to her address at Carswell Medical Center in

Texas, this motion to dismiss, too, (Doc. 441) is DENIED as moot.



IT IS SO ORDERED.

Dated: May 24, 2005.
                                                     /s/ J. Phil Gilbert_______________
                                                     J. PHIL GILBERT
                                                     U.S. District Judge
